98 F.3d 1347
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellant,v.JUVENILE MALE, Defendant-Appellee.
    No. 96-10140.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 7, 1996.*Decided Oct. 11, 1996.
    
      Before:  BEEZER, KOZINSKI, and KLEINFELD, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      The United States appeals the dismissal of an information charging the defendant with juvenile delinquency under 18 U.S.C. §§ 5103-37 for having possessed a handgun or handgun ammunition in violation of 18 U.S.C. §§ 922(x)(2) and 924(a)(5)(A)(i).  We recently held that the Youth Handgun Safety Act, 18 U.S.C. § 922(x)(2), does not exceed Congress's powers under the Commerce Clause.   See United States v. Michael R., 90 F.3d 340, 345 (9th Cir.1996).
    
    
      3
      Accordingly, we VACATE the district court's dismissal order and REMAND for further proceedings.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    